Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 1 of 38 Page ID #:1




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        assignee for the benefit of creditors of MORNINGSIDE RECOVERY, LLC
    8
    9
                                UNITED STATES DISTRICT COURT
   10
                            CENTRAL DISTRICT OF CALIFORNIA
   11
                                     SOUTHERN DIVISION
   12
   13
   14                                            Case No.
      ABC SERVICES GROUP, INC., a
   15 Delaware corporation, in its capacity as
      assignee for the benefit of creditors of
   16 MORNINGSIDE RECOVERY, LLC, a
      California limited liability company,      COMPLAINT FOR
   17
                       Plaintiff,                  1. BREACH OF EMPLOYEE
   18                                                 WELFARE BENEFIT PLAN
                           v.                         (RECOVERY OF PLAN
   19                                                 BENEFITS UNDER
                                                      E.R.I.S.A.) 29 U.S.C. §
   20 HEALTH NET OF CALIFORNIA,                       1132(a)(1)(b)
        INC., a California corporation;            2. BREACH OF IMPLIED
   21 HEALTH NET LIFE INSURANCE                       COVENANT OF GOOD
        COMPANY, a California corporation;            FAITH AND FAIR DEALING
   22 HEALTH NET, INC., a Delaware                 3. BREACH OF IMPLIED
        corporation; CENTENE                          CONTRACT
   23 CORPORATION, a Delaware                      4. PROMISSORY ESTOPPEL
        corporation; and DOES 1 through 20,        5. QUANTUM MERUIT
   24 Inclusive,                                   6. UNFAIR COMPETITION
   25                 Defendants.                DEMAND FOR JURY TRIAL
   26
   27
   28
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 2 of 38 Page ID #:2




    1        ABC SERVICES GROUP, INC., a Delaware corporation (“ABC”), in its
    2 capacity as assignee for the benefit of creditors of MORNINGSIDE RECOVERY,
    3 LLC, a California limited liability company (“Morningside” and ABC collectively

    4 “Plaintiff”) complains and alleges against Defendants HEALTH NET OF
    5 CALIFORNIA, INC. (“HNC”), HEALTH NET LIFE INSURANCE COMPANY
    6 (“HNL”), HEALTH NET, INC. (“HNI”), CENTENE CORPORATION (“Centene”,
    7 collectively with HNC, HNL and HNI referred to hereinafter as “Health Net”) and

    8 Does 1 through 20 (the “Doe Defendants”, collectively with Health Net referred to
    9 hereinafter as “Defendants”) as follows:

   10                                         THE PARTIES
   11       1.      ABC is a corporation organized and existing under the laws of the State
   12   of Delaware, with its primary place of business located in Tustin, California.
   13       2.      Morningside, at all relevant times, provided professional medical and
   14   mental health services and rehabilitation care for patients suffering from mental
   15   health and substance use disorders (“SUDs”) from its location in Irvine, California.
   16       3.      Defendant HNC is and at all relevant times was a California
   17   corporation licensed to do business in and is and was doing business in the State of
   18   California as a provider of health insurance benefits. Plaintiff is informed and
   19   believes, and based thereon alleges, that HNC is licensed by the California
   20   Department of Insurance and/or the California Department of Managed Health Care
   21   to transact the business of insurance in the State of California, is in fact transacting
   22   the business of insurance in the State of California and is thereby subject to the
   23   laws and regulations of the State of California.
   24       4.      Defendant HNL is and at all relevant times was a California
   25   corporation licensed to do business in and is and was doing business in the State of
   26   California as a provider of health insurance benefits. Plaintiff is informed and
   27   believes, and based thereon alleges, that HNL is licensed by the California
   28   Department of Insurance and/or the California Department of Managed Health Care
                   COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                           PAGE 2
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 3 of 38 Page ID #:3




    1   to transact the business of insurance in the State of California, is in fact transacting
    2   the business of insurance in the State of California and is thereby subject to the
    3   laws and regulations of the State of California.
    4       5.      Defendant HNI is and at all relevant times was a Delaware corporation
    5   licensed to do business in and is and was doing business in the State of California
    6   as a provider of health insurance benefits. Plaintiff is informed and believes, and
    7   based thereon alleges, that HNI is authorized by the California Department of
    8   Insurance and/or the California Department of Managed Health Care to transact the
    9   business of insurance in the State of California, is in fact transacting the business of
   10   insurance in the State of California and is thereby subject to the laws and
   11   regulations of the State of California.
   12       6.      Defendant Centene is and at all relevant times was a Delaware
   13   corporation licensed to do business in and is and was doing business in the State of
   14   California as a provider of health insurance benefits. Plaintiff is informed and
   15   believes, and based thereon alleges, that Centene is authorized by the California
   16   Department of Insurance and/or the California Department of Managed Health Care
   17   to transact the business of insurance in the State of California, is in fact transacting
   18   the business of insurance in the State of California and is thereby subject to the
   19   laws and regulations of the State of California.
   20       7.      On September 21, 2018, Morningside executed a written Assignment
   21   (the “Morningside Assignment”) pursuant to California Code of Civil Procedure
   22   §§ 493.010 through 493.060 and §§ 1800 through 18902. Pursuant to the
   23   Morningside Assignment, Morningside conveyed to ABC all of Morningside’s
   24   property and every right, claim and interest of Morningside, including the right to
   25   prosecute this action for the benefit of Morningside’s creditors. ABC brings this
   26   action in its capacity as the assignee for the benefit of creditors of Morningside
   27   pursuant to the Morningside Assignment and in its capacity as a “creditor” of
   28   Morningside as defined in California Civil Code             01        tr e        rre t
                   COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                           PAGE 3
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 4 of 38 Page ID #:4




    1   copy of the Morningside Assignment is attached eret                 rp r te
    2   herein by this reference as Exhibit A.
    3       8.      The true names and capacities of the Doe Defendants are unknown to
    4   Plaintiff at this time, and Plaintiff therefore sues such defendants by such
    5   defendants by such fictitious names. Plaintiff is informed and believes, and based
    6   thereon alleges, that the Doe Defendants are those individuals, corporations and/or
    7   other business entities that are also in some fashion legally responsible for the
    8   actions, events and circumstances complained of herein, and may be financially
    9   responsible to Plaintiff for the services Plaintiff has provided as alleged in this
   10   Complaint. This Complaint will be amended to allege the Doe Defendants’ true
   11   names and capacities when they have been ascertained.
   12       9.      At all relevant times herein, unless otherwise indicated, Defendants
   13   were the agents and/or employees of each of the remaining Defendants and were at
   14   all times acting within the purpose and scope of said agency and employment, and
   15   each of the Defendants has ratified and approved the acts of the agent. At all
   16   relevant times herein, Defendants had actual or ostensible authority to act on each
   17   other’s behalf in certifying or authorizing the provision of services, processing and
   18   administering the claims and appeals, pricing the claims, approving or denying the
   19   claims, directing each other as to whether and/or how to pay claims , issuing
   20   remittance advices and EOB statements, and making payments to Plaintiff and/or
   21   the Patients.
   22

   23                             JURISDICTION AND VENUE
   24       10.     Plaintiff brings this action for monetary relief pursuant to Section
   25   502(a)(1)(B) of the Employee Retirement Income Security Act of 1974 (“ERISA”),
   26   29 U.S.C. §§ 1132(a)(1)(B). This Court has subject matter jurisdiction over
   27   Plaintiff’s claims because the action seeks to enforce rights under ERISA pursuant
   28   to §§ 502(e) and (f), 29 U.S.C. §§ 1132(e) and (f), and 28 U.S.C. § 1331.
                   COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                           PAGE 4
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 5 of 38 Page ID #:5




    1       11.     Plaintiff also asserts state law claims for relief in this Complaint over
    2   which this Court can assert pendant jurisdiction as such claims arise from a nucleus
    3   of facts common to both the state law and ERISA claims. Nishimoto v. Federman
    4   Bachrach & Assoc., 903 F.2d 709 (9th Cir. 1990).
    5       12.     This Court is the proper venue for this action pursuant to 8 U.S.C. §
    6   1392(b) because a substantial part of the events or omissions giving rise to the
    7   claims alleged herein occurred in this Judicial District, because one or more of the
    8   Defendants conducts a substantial amount of business in this Judicial District, and
    9   pursuant to 29 U.S.C. § 1132(e)(2) because it is the Judicial District in which the
   10   break occurred.
   11

   12                                    INTRODUCTION
   13       13.     In 2014, the 2010 Patient Protection and Affordable Care Act (the
   14   “ACA”) required health insurance plans, including those sold by Health Net, to
   15   provide ten categories of “essential health benefits,” including mental health
   16   substance abuse treatment. 42 U.S.C. § 18022. In addition, under the ACA, states
   17   such as California established on-line health insurance exchanges (the
   18   “Exchanges”) where entities such as Health Net marketed new ACA-compliant
   19   plans. Plaintiff is informed and believes, and based thereon alleges, that Health Net
   20   marketed new plans that reimbursed out-of-network providers of SUD treatment
   21   like Plaintiff as much as 75% of actual billed charges.
   22       14.     At all relevant times herein, Plaintiff was a non-contracting (as to
   23   Health Net mental and SUD treatment and rehabilitation facility operating in
   24   Orange County, California, also referred to as a “non-contracted” or “out-of-
   25   network” provider. At all relevant times herein, Plaintiff offered a therapeutically
   26   planned rehabilitation intervention environment for the treatment of individuals
   27   with behavioral concerns and SUD.
   28
                   COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                           PAGE 5
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 6 of 38 Page ID #:6




    1       15.     Plaintiff is informed and believes, and based thereon alleges, that
    2   Health Net generally enters into private agreements with health care facilities
    3   thereby extending to them “in network” provider status. Out-of-network claims are
    4   distinguished by the fact that when members/patients obtain health care services
    5   from an out-of-network provider, like Plaintiff, members/patients are responsible
    6   for charges that the plan might not cover, or that exceed Health Net’s
    7   reimbursement obligation to members/patients under the Plans.
    8       16.     Plaintiff is informed and believes, and based thereon alleges, that this
    9   practice is known to Health Net and others in the industry as “steerage”, which is a
   10   method by which facilities that maintain in-network status may refer patients to
   11   each other pursuant to in-network agreements. Plaintiff is further informed and
   12   believes, and based thereon alleges, that Health Net concludes that referrals to and
   13   amongst facilities within the in-network community are permitted without fear of
   14   reprisal by state regulatory commissions that prohibit patient referrals for a fee, and
   15   the in-network status also protects members/patients from incurring excessive
   16   facility charges that are often imposed when a patient uses an out-of-network
   17   facility.
   18       17.     Plaintiff provided and rendered services, SUD and/or mental health
   19   treatment to members, subscribers and insured of Health Net, each of whom was a
   20   patient of Plaintiff and hereinafter referred to collectively as the “Patients”). As a
   21   result, Plaintiff became entitled to reimbursement, remuneration and/or payment
   22   from Health Net for those services and supplies Plaintiff rendered to the Patients.
   23       18.     Plaintiff is informed and believes, and based thereon alleges, that some
   24   or all of the Patients had express coverage for mental health and SUD treatment
   25   services as a delineated benefit of an ERISA plan, summary plan descriptions, and
   26   policies which were underwritten and/or administered by Health Net and/or the
   27   Doe Defendants (collectively an “ERISA Plan” or the “ERISA Plans”).
   28
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 6
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 7 of 38 Page ID #:7




    1       19.     Plaintiff is informed and believes, and based thereon alleges, that some
    2   or all of the Patients were plan participants and/or beneficiaries of an Employee
    3   Welfare Plan under ERISA, as those terms are defined by 20 U.S.C. § 1002.
    4   Plaintiff is further informed and believes, and based thereon alleges, that some or
    5   all of the Patients were entitled to be reimbursed for the cost of mental health and
    6   SUD treatment as the benefit of the subject Health Net plans, policies and insurance
    7   agreements governing the relationship between each Patient and Health Net
    8   (collectively the “Health Net Plans”). Each of the Health Net Plans provided
    9   coverage for both in and out-of-network mental health providers, and for admission
   10   to treatment centers for SUD treatment by SUD treatment providers and related
   11   services received on an outpatient basis, inpatient basis, partial inpatient basis
   12   and/or intensive outpatient basis, including but not limited to coverage for facility
   13   charges, psychotherapy, psychiatrists, psychologists, charges for supplies and
   14   equipment, physician services, blood testing and other incidental services.
   15       20.     Plaintiff is informed and believes, and based thereon alleges, that the
   16   Patients had preferred provider organization (“PPO”) plan benefits or point of
   17   service (“POS”) plan benefits that allowed them to seek medically necessary
   18   benefits, whether in-network or not and were entitled to reimbursement for their
   19   claims because Plaintiff was an out-of-network provider for Health Net. The
   20   Patients’ claims should not have been denied or underpaid as Health Net’s Plans
   21   provide coverage for the very services performed by Morningside, including but
   22   not limited to coverage for mental and SUD treatment.
   23       21.     Plaintiff is informed and believes, and based thereon alleges, that each
   24   of the Patients whose claims are at issue in this lawsuit requirement treatment for
   25   SUD and/or were suffering from serious medical and mental health concerns,
   26   sometimes related to their addictions and sometimes unrelated. Each of the
   27   Patients chose PPO insurance rather than health maintenance organization
   28   (“HMO”) insurance through their employers so that they could receive plan
                   COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                           PAGE 7
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 8 of 38 Page ID #:8




    1   benefits from the physicians and other medical providers of their choice, regardless
    2   of whether the health care practitioners were in-network or out-of-network with
    3   Health Net. Defendants, who administer and/or underwrite the PPO insurance for
    4   the Patient’s employers, advertise, publicize and represent on their websites, in
    5   their literature and in commercials that the benefit of their PPO policies include the
    6   freedom to choose any doctor for any and all health care needs.
    7       22.     Plaintiff requested that Health Net authorized the Patients to undergo
    8   treatment at Morningside for SUD treatment and for Health Net to authorize
    9   Plaintiff to provide the same treatment and care to the Patients. Plaintiff is
   10   informed and believes, and based thereon alleges, that Defendants authorized the
   11   Patients to undergo mental health and SUD treatment at Morningside and verified
   12   that each of the Patients had coverage which included coverage for the treatment
   13   Morningside provided.
   14       23.     Plaintiff is informed and believes, and based thereon alleges, that no
   15   provisions in any of the Plans, whether in the Summary Plan Descriptions (“SPDs”)
   16   and/or Evidence of Coverage (“EOC”) documents justified the failure of Health
   17   Net to pay the fees for services charged by mental health care provider or by SUD
   18   treatment facilities, like Plaintiff, and to pay nothing. These actions by Defendants
   19   were arbitrary, capricious and improper. Plaintiff is further informed and believes,
   20   and based thereon alleges, that during the insurance verification process for the
   21   Patients, Health Net represented to Plaintiff that it would pay Plaintiff’s fees.
   22   Plaintiff sought information during this process about potential limitations on the
   23   reimbursement of Plaintiff’s fees each time prior to providing services, and
   24   specifically inquired as to how Health Net’s fee provisions would apply to the
   25   Patients.
   26       24.     In the alternative, Plaintiff is informed and believes, and based thereon
   27   alleges, that Health Net may have withheld information in response to such
   28
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 8
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 9 of 38 Page ID #:9




    1   requests, and therefore misled Plaintiff into believing that services rendered by
    2   Plaintiff would be paid.
    3       25.     Plaintiff is informed and believes, and based thereon alleges, that no
    4   provisions in the Plans justified the failure to issue a final decision or denial on any
    5   of the Patient claims, and no provision in the subject Plans justified the failure and
    6   refusal of Health Net to issue an Explanation of Benefits (“EOB”) statement,
    7   delineating and explaining the justification or rationale for refusing to pay, cover
    8   and reimburse the Patient claims or to adjust those claims. These failures and
    9   refusals by Health Net were therefore arbitrary, capricious and a breach of Health
   10   Net’s fiduciary duties to plan participants. These failures and refusals were also
   11   violative of regulations promulgated under ERISA by the Department of Labor,
   12   which require that claims be adjudicated by the claims administrator (e.g., Health
   13   Net) within 45 days after receipt of the claim and were also violative of the Plans
   14   and SPDs issued and adopted by Health Net.
   15       26.     Plaintiff is informed and believes, and based thereon alleges, that for
   16   each Plan involved in this lawsuit, the terms of the Plan: (a) provided coverage for
   17   each of the services, supplies and treatments rendered by Plaintiff to each Patient
   18   for whom reimbursement, payment and coverage is sought; and (2) dictated that
   19   these covered services be paid according to a specific reimbursement rate (such as
   20   the reasonable and customary fees for services charged by Plaintiff or according to
   21   other formulae or allowable rates expressly and specifically provided in the Plans.
   22       27.     Each of the Patients have assigned all of their legal and equitable rights
   23   to payment and to assert ERISA remedies under the Plans to Plaintiff in writing,
   24   including but not limited to their rights to recover the benefits owed to them by
   25   Health Net to Plaintiff, by and through an irrevocable assignment of all of their
   26   rights, title and interest in and to the claims against Health Net. These assignments
   27   conferred upon Plaintiff the right to stand in the shoes of the Patients and to assert
   28   all of the rights held by the Patients as to Health Net and/or as to the Plans
                   COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                           PAGE 9
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 10 of 38 Page ID #:10




     1   administered by Health Net, including but not limited to all rights, powers and
     2   equitable remedies of the Patients, the right of Plaintiff to substitute in as a party or
     3   plaintiff in any past, present or future litigation regarding the Patient’s claims
     4   against Health Net, the right to the proceeds of all legal fees and costs, if
     5   specifically awarded, and any interest if specifically awarded, and the right to make
     6   and effect collections, including the commencement of legal proceedings on behalf
     7   of the Patients. A true and correct copy of a sample assignment signed by the
     8   Patients is attached hereto and incorporated herein by this reference as Exhibit B as
     9   if set forth in full.
    10       28.       In compliance with the terms of each Plan, Plaintiff and/or the Patients
    11   have exhausted any and all claims review, grievance, administrative appeals, and
    12   appeals requirements by submitting letters, appeals, grievances, requests for
    13   reconsideration and request for payment to Health Net.
    14       29.       Alternatively, all review, appeal, administrative grievances or
    15   complaint procedures are excused as a matter of law, are violative of Plaintiff’s due
    16   process rights, are or would be futile, or are otherwise unlawful, null, void and
    17   unenforceable. Health Net’s pattern of behavior and refusal to reimburse Plaintiff
    18   rendered all potential administrative remedies futile. As a result of Health Net’s
    19   actions and/or omissions, Health Net is estopped from asserting that Plaintiff has
    20   failed to exhaust its administrative remedies under ERISA. Alternatively, by
    21   Health Net’s failure and refusal to establish, maintain and follow a reasonable
    22   claim procedure process, Plaintiff and/or its Patients have exhausted the
    23   administrative remedies available under the Plans and are entitled to pursue this
    24   action, inasmuch as Defendants have failed to provide a reasonable claims
    25   procedure that would yield a decision on the merits of the claim, in violation of 29
    26   C.F.R. § 2560.503-1(l).
    27

    28
                      COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                              PAGE 10
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 11 of 38 Page ID #:11




     1                      HEALTH NET’S JANUARY 2016 LETTER
     2       30.      Prior to 2016, Health Net processed many, if not all, of Plaintiff’s
     3   claims, albeit at an amount less than required or at no reimbursement whatsoever.
     4   Plaintiff is informed and believes, and based thereon alleges, that prior to 2016,
     5   Health Net identified what it believed to be exceedingly large-dollar amounts to an
     6   out-of-network provider and directed all future incoming claims to its special
     7   investigations unit (“SIU”) for investigation.
     8       31.      In or about January 2016, Health Net’s Director of SIU, Matthew
     9   Ciganek, sent generic letters to multiple treatment centers in California, including
    10   Plaintiff, imposing unlawful and onerous burdens on how claims had to be
    11   submitted, including a request for extensive and unusual amounts of documentation
    12   in a short time frame. Attached hereto and incorporated herein by this reference as
    13   Exhibit C is a true and correct copy of the letter from Matthew Ciganek to Plaintiff.
    14       32.      The letter also stated that Health Net was suspending payment on
    15   claims previously submitted and that Health Net was investigating alleged
    16   fraudulent practices. However, the suspension of benefits was a sham schedule to
    17   be used by Health Net to avoid payment of valid claims, including those claims of
    18   Plaintiff.
    19       33.      Concurrently, Health Net alleged that claim payment to Plaintiff may
    20   not be appropriate if improper payments (such as payment of premiums) or other
    21   consideration has been made to patients “to induce procurement of services from
    22   your facility.” However, at all relevant times herein neither federal nor California
    23   state law prohibited third-party payment or cost sharing assistance to prospective
    24   payments.
    25                  PLAINTIFF’S CLAIMS AGAINST HEALTH NET
    26       34.      The Patients have not been identified by name in this Complaint to
    27   protect their right of privacy, and a redacted list of all patient claims which make up
    28   Plaintiff’s claims for damages is attached hereto and incorporated herein by this
                      COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                              PAGE 11
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 12 of 38 Page ID #:12




     1   reference as Exhibit D. Plaintiff is informed and believes, and based thereon
     2   alleges, that the amount due and owing from Health Net to Plaintiff resulting from
     3   the services Plaintiff provided to the Patients is $8,535,461.84.
     4       35.     Each of the Patients received mental health and/or SUD treatment at
     5   Plaintiff’s facility. Payments are due and owing by Defendants to Plaintiff for the
     6   care, treatment and procedures provided to the Patients, all of whom were insured,
     7   members, policy holders, certificate holders or otherwise covered for charges by
     8   Plaintiff through policies or certificates of insurance issued, underwritten and/or
     9   administered by Defendants.
    10       36.     Plaintiff is informed and believes, and based thereon alleges, that each
    11   of the Patients for whom claims are at issue was an insured of Health Net either as
    12   a subscriber to coverage or a dependent of a subscriber to coverage under a policy
    13   or certificate of insurance issued, administered and/or underwritten by Defendants.
    14   Plaintiff is further informed and believes, and based therein alleges, that each of the
    15   Patients for whom claims are at issue was covered by a valid insurance agreement
    16   with Health Net for the specific purpose of ensuring that the Patients would have
    17   access to medically necessary treatments, care, procedures and related care by out-
    18   of-network providers such as Plaintiff.
    19       37.     In the alternative, Plaintiff is informed and believes, and based thereon
    20   alleges, that some of the Patients for whom claims are at issue were covered by
    21   self-funded plans which were administered by Health Net. The identify of those
    22   Plans which are self-funded is known to Health Net, but is presently unknown to
    23   Plaintiff. Those self-funded Plans provided coverage to the Patients either as a
    24   subscriber to coverage or as a dependent of a subscriber to coverage under the
    25   certificate of coverage administered by Defendants. For these self-funded plans,
    26   Plaintiff is informed and believes, and based thereon alleges, that Health Net was a
    27   claim fiduciary, plan fiduciary and administrator charged with making claim
    28   determinations on behalf of the Plans.
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 12
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 13 of 38 Page ID #:13




     1       38.     Plaintiff is informed and believes, and based thereon alleges, that each
     2   of the Patients for whom claims are at issue was covered by a valid benefit plan,
     3   providing coverage for medical and mental health expenses, for the specific
     4   purpose of ensuring that the Patients would have access to medically necessary
     5   treatments, care and procedures by out-of-network providers like Plaintiff and
     6   ensuring Health Net would pay for the health care expenses incurred by the Patients
     7   for the services rendered by Health Net.
     8       39.     At all relevant times, each of the Patients received medical and/or
     9   paramedical services, procedures, mental health care, SUD treatment or other
    10   health care services from Plaintiff. Upon rendition of services to each of the
    11   Patients, each of the Patients became legally indebted, responsible and liable to
    12   Plaintiff for the full cost of and for payment of those services. Prior to the rendition
    13   of care by Plaintiff, Plaintiff sought and obtained a guarantee from the Patients that
    14   they would be legally responsible, liable and indebted for the full cost of and for
    15   payment of those services to be rendered by CCI.
    16       40.     Each of the Patients requested Plaintiff to render and provide medical
    17   treatment and professional services, knowing that Plaintiff was an out-of-network
    18   provider. Each of the Patients sought out, requested and requisitioned treatment
    19   and professional services from Plaintiff and selected and chose Plaintiff to provide
    20   him or her with said services based upon Plaintiff’s reputation in the community,
    21   experience and availability to render immediate care. Each of the Patients signed
    22   written admission agreements in which the Patients agreed to be obligated, legally
    23   responsible and liable for the full amount of the charges incurred for services
    24   rendered at Plaintiff.
    25       41.     Each of the Patients presented his or her insurance card to Plaintiff,
    26   which card identified the Patient as an insured, subscriber and/or member of Health
    27   Net. These identification cards, which were issued by Health Net, did not identify
    28   whether the coverage was underwritten by Health Net as an insurer or whether
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 13
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 14 of 38 Page ID #:14




     1   Health Net was acting as a third-party administrator of a self-funded plan. Prior to
     2   the rendition of professional services, treatments and the provision of care, and at
     3   such times as required by law, Plaintiff contacted Health Net with regard to certain
     4   Patients at the telephone number(s) identified on each card. During each one of
     5   those phone conversations, Plaintiff identified the type of treatment that would be
     6   provided to the Patient to Health Net and verified that each of the Patients had
     7   coverage for such professional services and treatmen, using the names and
     8   identification numbers listed on the insurance cards of the Patients. During each
     9   one of those phone conversations, Health Net affirmatively confirmed, represented
    10   and verified that each of the Patients whose claims are involved in this action was
    11   an insured of or member of Health Net, that each of the Patients whose claims are
    12   involved in this action had coverage for mental health and SUD treatment benefits
    13   through their policies or plans, that each of the policies, plans and insurance
    14   contracts covering each of the Patients provided coverage for mental health and
    15   SUD treatment benefits and would pay for the services sought to be rendered by
    16   Plaintiff, and that there were no exclusions, conditions or limitations which would
    17   result in claims submitted on behalf of each Patient being denied, rejected, refused
    18   or unpaid.
    19       42.      As a result of Health Net’s offer to pay for the services rendered by
    20   Plaintiff to each of the Patients, Plaintiff was induced to and did provide and render
    21   professional services and treatment to the Patients at great cost to itself, fully
    22   expecting that it would be paid for its service after submission of claims to Health
    23   Net. This expectation was further buttressed by the longstanding interactions, and
    24   business practices and customs that had been established between Plaintiff and
    25   Health Net over several years, which had resulted in Health Net’s processing and
    26   payments of hundreds of prior claims on behalf of patients who had received care
    27   and treatment at Plaintiff.
    28
                      COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                              PAGE 14
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 15 of 38 Page ID #:15




     1       43.       During each of these phone conversations, Health Net advised and
     2   represented that it would adjust all claims submitted by Plaintiff and would pay
     3   those claims according to its usual and customary fees or as specified in a subject
     4   Plan for a Patient. Health Net never advised Plaintiff, however, whether a Patient’s
     5   claim was insured or underwritten by Health Net, or whether Health Net was acting
     6   in the capacity of an administrator only in adjusting that claim on behalf of a self-
     7   funded plan. To date, Health Net has not identified whether or which of the subject
     8   claims are insured, underwritten or only administered by Health Net. Health Net
     9   has never indicated the name of any self-funded Plans or identified those Plans as
    10   responsible for payment of the claims for any Patient. Plaintiff will seek leave to
    11   identify any and all self-funded Plans as self-funded and identify the proper name
    12   of that entity.
    13       44.       At all relevant times herein, representatives and agents of Defendants
    14   advised Plaintiff that each of the Patients was insured and covered for and was an
    15   eligible member or subscriber entitled to coverage under respective Plans for the
    16   services Plaintiff rendered, including mental health and SUD treatment benefits,
    17   that Plaintiff was authorized to render services, treatment and care, and that Health
    18   Net would pay Plaintiff for performance of the services, care and/or treatment
    19   rendered by Plaintiff upon Plaintiff’s submission of claim forms and invoices to
    20   Health Net.
    21       45.       At all relevant times herein, Health Net led Plaintiff to believe that
    22   Plaintiff would be paid a portion or percentage of its total billed charges, equivalent
    23   to the usual customary and reasonable amount charged by other similar SUD
    24   treatment facilities and specialists in the same geographical area or that other
    25   methodologies would be used to determine the amount that Health Net would pay
    26   Plaintiff. In reliance upon the representations of Health Net that Health Net would
    27   pay for the services to be rendered to each Patient, Plaintiff was induced to, and did
    28   provide and render medical treatments and professional services to each of the
                     COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                             PAGE 15
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 16 of 38 Page ID #:16




     1   Patients. Had Health Net advised Plaintiff that there was no coverage for the
     2   treatments and services to be rendered by Plaintiff under the Patients’ Plans or had
     3   Health Net not authorized treatment and verified coverage, Plaintiff would never
     4   have rendered services to the Plaintiffs or would have required each patient to self-
     5   pay for his or her treatments.
     6       46.     Plaintiff is informed and believes, and based thereon alleges, that each
     7   and every one of the Patients had express coverage for mental health and SUD
     8   treatment benefits under the applicable Plan or policy covering that Patient which
     9   was issued or administered by Health Net. As such, each Plan was required to offer
    10   coverage for mental health and SUD treatment in parity with the medical and
    11   surgical benefits afforded by the same plan, as required by 26 U.S.C. § 9812(3)(A),
    12   which mandates that:
    13       47.     In the case of a group health plan that provides both medical and
    14   surgical benefits and mental health or substance use disorder benefits, such
    15   plan shall ensure that –
    16
              i.     the financial requirements applicable to such mental health or
    17
                     substance use disorder benefits are no more restrictive than the
    18
                     predominant financial requirements applied to substantially all
    19
                     medical and surgical benefits covered by the plan, and there are
    20
                     no separate cost sharing requirements that are applicable only
    21
                     with respect to mental health or substance use disorder benefits;
    22
                     and
    23
              ii.    the treatment limitations applicable to such mental health or
    24
                     substance use disorder benefits are no more restrictive than the
    25
                     predominant treatment limitations applied to substantially all
    26
                     medical and surgical benefits covered by the plan and there are
    27
                     no separate treatment limitations that are applicable only with
    28
                     respect to mental health or substance use disorder benefits.
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 16
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 17 of 38 Page ID #:17




     1       48.     Additionally, 26 U.S.C. § 9812(5) mandates that out-of-network
     2   providers such as Plaintiff be treated in parity with medical providers and
     3   with in-network providers of mental health and SUD treatment, stating:
     4              In the case of a plan that provides both medical and
     5        surgical benefits and mental health or substance use disorder
     6        benefits, if the plan provides coverage for medical or surgical
     7        benefits provided by out-of-network providers, the plan shall
     8        provide coverage for mental health or substance use disorder
     9        benefits provided by out-of-network providers in a manner that
    10        is consistent with the requirements of this section
    11       49.     Federal law also requires that insurers and Plans
    12   articulate the reason and rationale for any denial of benefits, stating:
    13                      The criteria for medical necessity determinations
    14               made under the plan with respect to mental health or
    15               substance use disorder benefits shall be made available
    16               by the plan administrator in accordance with regulations
    17               to any current or potential participant, beneficiary, or
    18               contracting provider upon request. The reason for any
    19               denial under the plan of reimbursement or payment for
    20               services with respect to mental health or substance use
    21               disorder benefits in the case of any participant or
    22               beneficiary shall, on request or as otherwise required, be
    23               made available by the plan administrator to the
    24               participant or beneficiary in accordance with regulations
    25       50.     The failure and refusal of Health Net to articulate the
    26   reasons, rationales and/or criteria it used in denying benefits for
    27   coverage for the Patients’ claims constitutes a breach of 26 U.S.C. §
    28   9812(4) and the applicable regulations promulgated thereunder.
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 17
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 18 of 38 Page ID #:18




     1       51.      The failure and refusal of Health Net to pay Plaintiff for the
     2   SUD treatments rendered by Plaintiff to the Patients violated 26 U.S.C. §
     3   9812(3) per se. Plaintiff is informed and believes, and based thereon
     4   alleges, that Health Net has discriminated against it and other mental health
     5   and SUD treatment providers by applying financial requirements and
     6   treatment limitations different than those applied to medical health
     7   providers.
     8       52.      Plaintiff is informed and believes, and based thereon alleges,
     9   that Health Net has investigated, adjusted, processed and examined
    10   Plaintiff’s claims, in a manner different than the manner in which it
    11   investigates, adjusts, processes and examines the claims of medical
    12   providers, by subjecting Plaintiff’s claims to delays, by requesting additional
    13   information which is irrelevant to the claim process, by offsetting payments
    14   it acknowledged were owed on claims for the Patients by amounts owed on
    15   account of other patients who were not related to the Patients but who were
    16   insured by Health Net and who had received SUD treatments at Plaintiff at
    17   different times when treatment had been rendered to the Patients. As a
    18   result, Health Net has breached the statutory mandates of 26 U.S.C. § 9812,
    19   et. seq. and owes payment benefits to Plaintiff in an amount no less than
    20   $8,535,461.84.
    21       53.      Plaintiff is a beneficiary (as that term is defined by 29 U.S.C. §
    22   1002(8)) of the benefits payable under the subject Plans and insurance
    23   policies issued to and covering the Patients and by virtue of the assignment
    24   of rights given by each of the Patients to Plaintiff.
    25       54.      At all relevant times herein, Plaintiff was authorized by law to
    26   act on behalf of the Patient with respect to the filing of claims with Health
    27   Net, demanding production of documents from Health Net, filing appeals on
    28   behalf of the Patients with Health Net, and otherwise pursuing actions on
                      COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                              PAGE 18
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 19 of 38 Page ID #:19




     1   behalf of the Patients with respect to the Patients’ Plans in accordance with
     2   29 C.F.R. § 2560.503.1(b)(4).
     3       55.     Plaintiff is not privy to, nor does it possess or have access to any
     4   of the EOC documents, SPDs, Plan Documents, policies or Certificates of
     5   Insurance which are issued to the Patients. As such, Plaintiff does not have
     6   knowledge of or access to the definition of an “allowable amount” or
     7   “allowable benefit” as that term is defined or used by Health Net, at any time
     8   prior to the date that Health Net processes, adjusts and pays each claim.
     9   These definitions were not imparted by Health Net to Plaintiff during the
    10   insurance verification or authorization process.
    11       56.     At all relevant times herein, Health Net has improperly or failed
    12   to pay and refused to pay Plaintiff for the medically necessary and
    13   appropriate services rendered to Health Net’s insureds, subscribers and
    14   members for those treatments, services and/or supplies rendered by Plaintiff.
    15   For each of the Patient claims at issue in this action, Plaintiff provided
    16   medical services to members and insureds of Health Net.
    17       57.     Following the rendition of treatment by Plaintiff to the Patients,
    18   invoices, bill and claims were submitted to Defendants for adjustment and
    19   payment. Plaintiff also provided medical records to Health Net for the
    20   treatment Plaintiff provided to the Patients.
    21       58.     For each of the claims at issue, Health Net failed and refused to
    22   adjust the claims and to issue EOB statements to Plaintiff in a timely manner
    23   as required by federal law. These failures constituted an effective denial of
    24   benefits, although an actual denial of benefits was not communicated by
    25   Health Net. By virtue of its failure and refusal to issue EOB statements and
    26   to adjust the claims, Plaintiff was precluded and inhibited from appealing the
    27   effective denial of payment on the subject claims.
    28
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 19
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 20 of 38 Page ID #:20




     1       59.     For each of the claims at issue in this case, Health Net failed and
     2   refused to complete the claim examination process, delayed issuing EOB
     3   and EOP statements to Plaintiff, has requested unnecessary and irrelevant
     4   information and documentation from Plaintiff which has no bearing on or
     5   relevant to the claim examination process, has failed and refused to provide
     6   notification of the reasons for its failure and refusal to pay benefits and has
     7   failed to engage in a meaningful appeal process with Plaintiff. For each of
     8   the claims at issue in this case, Health Net has failed and refused to pay
     9   benefits in any amount whatsoever, leaving the entire charges unpaid and
    10   owed.
    11       60.     To the extent Health Net issued any EOB statements, Health Net
    12   did not explain how the claims were adjusted, disallowed or denied, and
    13   Health Net provided vague, ambiguous and uncertain explanations for the
    14   manner by which Health Net based its claim determination. To the extent
    15   Health Net issued any EOB statements, each was uninformative, false and
    16   misleading, thereby depriving Plaintiff and the Patients from an ability to
    17   intelligently engage in the appeal process or understand the basis and
    18   rationale for Health Net’s denial of benefits.
    19       61.     Plaintiff is informed and believes, and based thereon alleges,
    20   that Health Net’s actions violated 29 U.S.C. § 1133, 29 C.F.R. § 2560.503-
    21   1(g) and 26 U.S.C. § 9812(4), all due to Health Net’s failure to provide a
    22   description of the Plain’s review procedures and the time limits or deadlines
    23   applicable to such procedures.
    24       62.     In each of the EOB statements issued by Health Net, if any,
    25   Health Net failed to advise Plaintiff and/or the Patients of the right of the
    26   Patients and/or Plaintiff to appeal the adverse claim determination made by
    27   Health Net in any of the EOB statements concerning the right to appeal, file
    28   a grievance, seek reconsideration or otherwise engage in an administrative
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 20
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 21 of 38 Page ID #:21




     1   review process, as required by 29 U.S.C. § 1133, 29 C.F.R. § 2560.503-1(g)
     2   and 26 U.S.C. § 9812(4).
     3                         FIRST CLAIM FOR RELIEF
     4   (Claims for Benefits Pursuant to 29 U.S.C. § 1132(a)(1)(B) Against All
     5                                    Defendants)
     6       63.     Plaintiff realleges and incorporates by reference each and every
     7   paragraph of this Complaint as though set forth herein.
     8       64.     Plaintiff is informed and believes, and based thereon alleges,
     9   that Defendants are discriminating against the Patients of Plaintiff who are
    10   suffering from a severe mental illness or SUDs by restricting benefits that
    11   are not imposed on other patients.
    12       65.     This claim is alleged by Plaintiff for relief in connection with
    13   claims for treatment rendered to members of an ERISA Plan. This claim
    14   seeks to recover benefits, enforce rights and clarify rights to benefits under
    15   29 U.S.C. § 1132(a)(1)(B). Plaintiff has standing to pursue these claims as
    16   assignee of the Patients’ benefits under the ERISA Plans. As the assignee of
    17   benefits under the ERISA Plans, Plaintiff is a “beneficiary” entitled to
    18   collect benefits under the terms of the ERISA Plans, and is the “claimant”
    19   for purposes of ERISA.
    20       66.     Plaintiff is informed and believes, and based thereon alleges,
    21   that Defendants are the insurer, sponsor, and/or financially responsible
    22   payer, serves as its designated plan administrator, and/or services as the
    23   named plan administrator’s designee. Plaintiff is further informed and
    24   believes, and based thereon alleges, that with respect to each of the ERISA
    25   Plans at issue in this case that are self-insured plans, but which do not
    26   specifically designate a plan administrator, Health Net effectively controls
    27   the decision whether to honor or deny the a claim under the Plan, exercises
    28   authority over the resolution of benefits claims, and/or has responsibility to
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 21
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 22 of 38 Page ID #:22




     1   pay the claims. Health Net also plays the role as the de facto plan
     2   administrator for such Plans.
     3       67.     Plaintiff is informed and believes, and based thereon alleges,
     4   that for each of these claims and for each of the involved Patients,
     5   Defendants have failed and refused to pay, process or adjust these claims in
     6   an appropriate fashion by, among other acts and omissions:
     7               a. Delaying the processing, adjustment and/or payment of
     8                  claims for periods of time greater than 45 days after
     9                  submission of the claims in violation of 29 C.F.R. §
    10                  2560.503-1(f)(2)(iii)(B);
    11               b. Failing and refusing to provide any notice and/or explanation
    12                  for the denial of benefits, payments or reimbursement of the
    13                  claims of each of the Patients, in violation of 29 U.S.C. §
    14                  1133(1);
    15               c. Failing and refusing to provide an adequate notice and/or
    16                  explanation for the denial of benefits, payments or
    17                  reimbursement of claims of each of the Patients, in violation
    18                  of 29 U.S.C. § 1133(1);
    19               d. Failing and refusing to provide an explanation for the denial
    20                  of benefits, payments or reimbursements of claims of each of
    21                  the Patients, and by failing and refusing to set forth the
    22                  specific reasons for such denials, all in violation of 29 U.S.C.
    23                  § 1133(1);
    24               e. Failing and refusing to provide an explanation for the denial
    25                  of benefits, payments or reimbursements of claims of each of
    26                  the Patients, written in a manner calculated to be understood
    27                  by the participant, in violation of 29 U.S.C. § 1133(1);
    28
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 22
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 23 of 38 Page ID #:23




     1             f. Failing to afford Plaintiff and/or its Patients with a reasonable
     2                opportunity to engage in an appeals process, in violation of
     3                29 U.S.C. § 1133(2);
     4             g. Failing to afford Plaintiff and/or its Patients with a reasonable
     5                opportunity to engage in meaningful appeal process which
     6                was full and fair, in violation of 29 U.S.C. § 1133(2);
     7             h. Failing and refusing to provide Plaintiff and/or its Patients
     8                with information pertaining to their rights to appeal,
     9                including not limited to those deadlines for filing appeals
    10                and/or the requirements that an appeal be filed, in violation of
    11                29 U.S.C. § 1133(1);
    12             i. Violating the minimum requirements for employee benefit
    13                plans pertaining to claims and benefits by participants and
    14                beneficiaries, in violation of 29 C.F.R. § 2560.503-1(a), et
    15                seq.;
    16             j. Failing and refusing to establish and maintain reasonable
    17                claims procedures in violation of 29 C.F.R. § 2560.503-1(b);
    18             k. Establishing, maintaining and enforcing claims procedures
    19                which unduly inhibit the initiation and processing of claims
    20                for benefits, in violation of 29 C.F.R. § 2560.503.1(b)(3);
    21             l. Precluding and prohibiting Plaintiff from acting as an
    22                authorized representative of the Patients in pursuing a benefit
    23                claim or appeal of an adverse benefit determination, in
    24                violation of 29 C.F.R. § 2560.503-1(b)(4);
    25             m. Failing and refusing to design, administer and enforce their
    26                processes, procedures and claims administration to ensure
    27                that their governing plan documents and provisions have
    28                been applied consistently with respect to similarly situated
                  COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                          PAGE 23
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 24 of 38 Page ID #:24




     1                  participants, beneficiaries and claimants, in violation of 29
     2                  C.F.R. § 2560.503-1(b)(5);
     3               n. Failing and refusing to pay benefits for services rendered by
     4                  Plaintiff which Health Net authorized, as well as rescinding
     5                  the same, in violation of California Health & Safety Code §
     6                  1371.8 and California Insurance Code § 796.04;
     7               o. Failing to offer coverage for mental health and SUD
     8                  treatment in parity with the medical and surgical benefits
     9                  afforded by the same Plan, as required by 26 U.S.C. §
    10                  9812(3), as well as other mandates set forth at 26 U.S.C. §
    11                  9812, et seq.; and
    12               p. Failing and refusing to pay Plaintiff for the SUD treatments
    13                  provided to the Patients in violation of 26 U.S.C. § 9812(3).
    14        68.    The failure and refusal of Defendants to provide coverage,
    15   reimbursement, payment and/or benefits for the SUD and/or mental health
    16   treatment benefits rendered by Plaintiff to Plaintiff’s patients who were
    17   covered by Defendants and Defendants’ denial of health insurance benefits
    18   coverage constitutes a breach of the insurance plans and/or employee benefit
    19   Plans between Defendants and Plaintiff’s Patients. Plaintiff seeks
    20   reimbursement and compensation for any and all payments which it would
    21   have received and to which it will be entitled as a result of Defendants’
    22   failure to pay benefits and cover those services rendered by Plaintiff to the
    23   Patients, in an amount not less than $8,535,461.84, according to proof at
    24   trial.
    25        69.    Defendants have arbitrarily and capriciously breached the
    26   obligations set forth in the Plans issued by Defendants, and Defendants have
    27   arbitrarily and capriciously breached their obligations under the ERISA
    28   Plans to provide Plaintiff and the Patients with health benefits.
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 24
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 25 of 38 Page ID #:25




     1       70.     As a direct and proximate result of the actions by Defendants,
     2   Plaintiff has been damaged in an amount equal to the amount of benefits
     3   Plaintiff should have received and to which the Patients would have been
     4   entitled had Defendants paid the proper amounts, which Plaintiff estimates
     5   to be $8,535,461.84.
     6       71.     As a direct and proximate result of the aforesaid conduct of
     7   Defendants in failing to provide coverage as required, Plaintiff has suffered,
     8   and will continue to suffer in the future, damages, plus interest and other
     9   economic and consequential damages, for a total amount Plaintiff estimates
    10   to be $8,535,461.84 or as otherwise determined at the time of trial.
    11       72.     Plaintiff is entitled to an award of reasonable attorneys’ fees
    12   pursuant to 29 U.S.C. § 1132(g)(1). As a result of the actions and failings of
    13   the Defendants, Plaintiff has retained the services of legal counsel and has
    14   necessarily incurred attorneys’ fees and costs in prosecuting this action.
    15   Furthermore, Plaintiff anticipates incurring additional attorneys’ fees and
    16   costs hereafter pursing this action.
    17                          SECOND CLAIM FOR RELIEF
    18       (Breach of the Implied Covenant of Good Faith and Fair Dealing
    19                              Against All Defendants)
    20       73.     Plaintiff realleges and incorporates by reference each and every
    21   paragraph of this Complaint as though set forth herein.
    22       74.     Plaintiff is an assignee and intended beneficiary of its Patients’
    23   policies issued by Defendants and the rights conferred thereunder.
    24       75.     Each policy contains an implied covenant of good faith and fair
    25   dealing that obligates each party to do nothing to injure the right of the other
    26   party to receive the benefits of the agreement.
    27       76.     Plaintiff provided covered, necessary mental health and SUD
    28   treatment services to the Patients with the understanding and expectation
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 25
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 26 of 38 Page ID #:26




     1   that Defendants would act in good faith and deal fairly with Plaintiff
     2   pursuant to the Plans.
     3       77.      Defendants and each of them, however, tortiously breached the
     4   Plans and the implied covenant of good faith and fair dealing by the conduct
     5   alleged herein, including without limitation withholding of proper claim
     6   payments from Plaintiff, making unreasonable demands on Plaintiff, not
     7   engaging in a prompt, full and complete investigation of Plaintiff’s claims,
     8   and interpreting the policies in an unduly restrictive manner so as to deny
     9   coverage and benefits when, in fact, coverage exists and benefits are owed to
    10   Plaintiff, fraudulently representing to Plaintiff that defendants would pay the
    11   claims in accordance with the policies, fraudulently misrepresenting the
    12   terms of the policies, and forcing Plaintiff to initiate litigation to recover the
    13   policy benefits owed, failing to abide by the rules and regulations
    14   promulgated by the California Department of Insurance and the California
    15   Department of Managed Health Care, and by other acts and omissions of
    16   which Plaintiff is presently unaware and which will be shown according to
    17   proof at the time of trial.
    18       78.      Plaintiff is informed and believes, and based thereon alleges,
    19   that the conduct of Defendants, and each of them, as alleged herein
    20   constitutes part of an institutional illegal pattern and practice of bad faith and
    21   unlawful insurance practices.
    22       79.      Defendants’ conduct constitutes a continuing tort that is causing
    23   Plaintiff continued damages.
    24       80.      The conduct of Defendants and each of them as alleged herein
    25   was undertaken by Defendants’ officers, directors or managing agents who
    26   were responsible for supervision, operation, reports, communication and
    27   decisions. The conduct of said officers, directors and managing agents, and
    28   of other employees, representatives and agents, was undertaken on behalf of
                     COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                             PAGE 26
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 27 of 38 Page ID #:27




     1   Defendants, which had advance knowledge of the action and conduct of said
     2   individuals whose conduct and actions were authorized, ratified and
     3   approved by officers, directors or managing agents of Defendants.
     4        81.      As a direct and proximate result of Defendants’ breach, Plaintiff
     5   has suffered general and incidental damages according to proof, and is
     6   entitled to statutory and prejudgment interest. Under this Second Claim for
     7   Relief for breach of the implied covenant of good faith and fair dealing,
     8   Plaintiff seeks to recover the benefits payable under the EOC’s between the
     9   Patients and Defendants, in an amount to be proven at trial, as well as tort
    10   damages that arise from defendants’ bad faith breach.
    11        82.      As a direct and proximate result of Defendants’ breach, Plaintiff
    12   has incurred and continues to incur economic loss, including the benefits
    13   owed in the amount of at least $8,535,461.84, the interruption in Plaintiff’s
    14   business, lost business opportunities, lost profits and other consequences, all
    15   according to proof at trial.
    16        83.      As a direct and proximate result of Defendants’ breach, Plaintiff
    17   has incurred attorney fees and costs as a result of efforts to secure the
    18   insurance benefits owed, in an amount according to proof at trial.
    19        84.      As a direct and proximate result of Defendants’ breach, Plaintiff
    20   has sustained damages, and statutory and prejudgment interest, in excess of
    21   the jurisdictional minimum of this Court in an amount to be determined at
    22   trial.
    23                          THIRD CLAIM FOR RELIEF
    24            (Breach of Implied-In-Law Contract Against All Defendants)
    25        85.      Plaintiff realleges and incorporates by reference each and every
    26   paragraph of this Complaint as though set forth herein.
    27        86.      The Patients obtained the services in California and/or provided
    28   the assignment in California and/or are members of a California Plan.
                      COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                              PAGE 27
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 28 of 38 Page ID #:28




     1       87.     Plaintiff obtained a valid assignment of benefits from each
     2   Patient of the Non-ERISA Plans to whom Plaintiff provided services. Health
     3   Net, for itself and of behalf of the Non-ERISA Plans, acknowledged,
     4   consented to, and/or waived any objection to or limitation upon each such
     5   assignment of benefits.
     6       88.     Under the terms of the Non-ERISA Plans at issue in this case
     7   and the assignments of benefits obtained by Plaintiff from each of the
     8   Patients of the Non-ERISA Plans to whom Plaintiff provided services,
     9   Health Net, for itself and on behalf of the Non-ERISA Plans, was obligated
    10   to pay benefits under the Non-ERISA Plans to Plaintiff, as assignee of the
    11   Patients’ benefits, for the health care services provided by Plaintiff to the
    12   members of the Non-ERISA Plans pursuant to the out-of- network benefit
    13   provisions of the Non- ERISA Plans.
    14       89.     The conduct between Plaintiff and Health Net and the
    15   circumstances of their interaction created an implied-in-fact contract.
    16       90.     The out-of-network benefit provisions of the Non-ERISA Plans
    17   provide that benefit payments to Plaintiff, as assignee of the Patients’
    18   benefits, be calculated in accordance with the usual, customary and
    19   reasonable standard.
    20       91.     As set forth more fully above, Health Net, for itself and on
    21   behalf of the Non-ERISA Plans, failed to pay Plaintiff for the health care
    22   services rendered to the members of the Non-ERISA Plans as required by
    23   the terms of the Non- ERISA Plans.
    24       92.     The failure of HealthNet, for itself and on behalf of the Non-
    25   ERISA Plans to pay Plaintiff constitutes a direct breach of the terms of the
    26   Non-ERISA Plans, as well as a breach of the MHPAEA and CMHPA.
    27       93.     Plaintiff is informed and believes, and based thereon alleges,
    28   that the Patients of the Non-ERISA Plans entered into these plans for the
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 28
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 29 of 38 Page ID #:29




     1   specific purposes of (a) having access to SUD benefits in accordance with
     2   applicable Federal and California law, including 42 U.S.C. §
     3   18022(b)(1)(E), 42 U.S.C. § 300gg-26 29 C.F.R. § 2590.712 and California
     4   Health & Safety Code §§ 1367.005, 1367.015 and (b) ensuring that
     5   HealthNet will pay for health care expenses incurred by the members.
     6       94.     Plaintiff is informed and believes, and based therein alleges, that
     7   Health Net received, and continues to receive, valuable premium payments
     8   from the members under the Non-ERISA Plans.
     9       95.     For these patients, Plaintiff requested pre-authorizations or
    10   precertifications from Health Net prior to providing any treatment in order to
    11   ensure that these services would be covered and paid for under the Non-
    12   ERISA Plans. By representing that it would reimburse Plaintiff for its
    13   services, Health Net has impliedly requested NMW to perform services for
    14   the Non-ERISA Plan members.
    15       96.     Plaintiff is informed and believes, and based thereon alleges,
    16   that Health Net intended to enter into an implied contract with Plaintiff, or
    17   knew, or had reason to knew, that Plaintiff would infer from Health Net’s
    18   conduct that it intended to enter into an implied contract with Plaintiff.
    19       97.     Defendants breached the provisions of the Non-ERISA Plans’
    20   by underpricing and underpaying, or not paying at all, Plaintiff for the out-
    21   of- network services provided by Plaintiff to the members and covered under
    22   the Non-ERISA Plans, and due to Plaintiff as the assignee of the members’
    23   out-of-network benefits. The breaches also included, among other things,
    24   interpreting and implementing the Non-ERISA Plan terms in a way that
    25   systematically was arbitrary and capricious, making material
    26   misrepresentations and/or misleading statements regarding the manner in
    27   which out-of-network benefits are priced, making false and/or misleading
    28   representations that Plaintiff’s out-of-network claims were paid based upon a
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 29
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 30 of 38 Page ID #:30




     1   comparison of Plaintiff’s charges with amounts charged by similar providers
     2   for similar services or supplies, using improper methodologies and systems
     3   to miscalculate the usual and customary rate for Plaintiff’s services,
     4   systematically reducing benefits paid to Plaintiff for its out-of-network
     5   services, and providing an arbitrary and capricious benefit determination and
     6   appeal process.
     7       98.     Plaintiff is informed and believes, and based thereon alleges, the
     8   Non-ERISA Plan members and Plaintiff, as assignee of the Patients’
     9   benefits, satisfied all conditions and obligations under the Non-ERISA
    10   Plans, including, but not limited to, paying all premiums owed, obtaining all
    11   necessary prior authorizations for the procedures, if any, and submitting
    12   timely and complete benefit claims.
    13       99.     Plaintiff has performed all of its obligations and/or has been
    14   excused from performance as a result of Defendants’ failure to perform.
    15       100.    As a direct and proximate result Defendants’ breach of the Non-
    16   ERISA Plans, Plaintiff has been damaged in an amount to be proven at trial,
    17   plus interest at the maximum rate permitted by law.
    18       101.    Plaintiff respectfully request an award of attorneys’ fees upon
    19   prevailing in the request for relief in this cause of action, as allowable by
    20   law.
    21                        FOURTH CLAIM FOR RELIEF
    22                 (Promissory Estoppel Against All Defendants)
    23       102.    Plaintiff realleges and incorporates by reference each and every
    24   paragraph of this Complaint as though set forth herein.
    25       103.    As part of verifying benefits and authorizing treatment when
    26   necessary, and in multiple communications following admissions and the
    27   submission of claims, Defendants expressed a clear promise to pay Plaintiff
    28   at its usual and customary rates.
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 30
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 31 of 38 Page ID #:31




     1       104.    The persons answering calls and corresponding on behalf of
     2   Defendants, and each of them, were upon information and belief the agents
     3   and employees of Defendants, and each of them, and in doing the things
     4   herein alleged were acting within the course and scope of such agency and
     5   employment and with the permission and consent of Defendants, and each of
     6   them.
     7       105.    Plaintiff relied on Defendants’ promises in providing treatment
     8   to Defendants’ insureds, and defendants, and each of them, should
     9   reasonably have expected to induce Plaintiff’s action in providing treatment.
    10       106.    Plaintiff has suffered substantial detriment in reliance upon
    11   Defendants’ promises in providing treatment to Defendants’ insureds,
    12   including without limitation the benefits owed in the amount of at least
    13   $8,535,461, the interruption in Plaintiff’s business, lost business
    14   opportunities, lost profits and other consequences, all according to proof.
    15       107.    As a direct and proximate result of Defendants’ breach of their
    16   promise, Plaintiff has sustained general and incidental damages, and
    17   statutory and prejudgment interest, in excess of the jurisdictional minimum
    18   of this court in an amount to be determined at trial. Under this Fourth Cause
    19   of Action for promissory estoppel, and aside from the consequential
    20   damages set forth in paragraph 105 above, Plaintiff seeks to recover its fully-
    21   billed charges.
    22                          FIFTH CLAIM FOR RELIEF
    23                     (Quantum Meruit Against All Defendants)
    24       108.    Plaintiff realleges and incorporates by reference each and every
    25   paragraph of this Complaint as though set forth herein.
    26       109.    Plaintiff, as an out-of-network provider, provided mental health
    27   and SUD treatment services the Patients who were insured under Health Net
    28   Plans, preceded by authorization and verification of benefits by Defendants.
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 31
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 32 of 38 Page ID #:32




     1       110.     Consistent with the trade custom and usage associated with prior
     2   authorization and verification of benefits, Plaintiff provided the subject
     3   treatment with the expectation, which was fully and clearly understood by
     4   Defendants and each of them, that Plaintiff would be compensated for such
     5   services.
     6       111.     Plaintiff, as an out-of-network provider, must often decide on
     7   short notice whether and to what extent it can treat a patient. Requiring such
     8   providers to, in effect, make an on-the-spot legal analysis whether the
     9   statements made by health care plans to authorize treatment and verify
    10   benefits constitute binding contract “acceptances” versus supposedly non-
    11   binding “authorizations” would jeopardize the safety of patient and impose
    12   an unfair risk on health care providers that they would not get paid for
    13   providing treatments that are medically necessary. For this reason, the
    14   California Legislature enacted Health & Safety Code § 1371.8, which states
    15   in relevant part:
    16       A health care service plan that authorizes a specific type of treatment
    17       by a provider shall not rescind or modify this authorization after
    18       the provider renders the health care service in good faith and
    19       pursuant to the authorization for any reason, including, but not
    20       limited to, the plan’s subsequent rescission, cancellation, or
    21       modification of the enrollee’s or subscriber’s contract or the plan’s
    22       subsequent determination that it did not make an accurate
    23       determination of the enrollee’s or subscriber’s eligibility….
    24       (Emphasis added.)
    25       112.     In addition to reliance upon the trade custom and usage
    26   associated with prior authorization and verification of benefits, Plaintiff
    27   provided the subject treatment with the expectation that Plaintiff would be
    28
                     COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                             PAGE 32
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 33 of 38 Page ID #:33




     1   compensated for such services based upon the prior course of conduct
     2   between Plaintiff and defendants.
     3       113.    Defendants and each of them were fully aware of the dollar
     4   amounts charged by Plaintiff for the subject treatment and had previously
     5   authorized and verified benefits for such treatment. Defendants and each of
     6   them were also aware that Plaintiff did not provide the subject treatment for
     7   free, and that Plaintiff would submit its total billed charges for said services
     8   and expect to be compensated.
     9       114.    Defendants and each of them also knew Plaintiff was not an in-
    10   network provider who had agreed to accept any pre-negotiated contract
    11   rates. With such knowledge, Defendants and each of them issued payments
    12   for the subject treatment to out-of-network providers, including Plaintiff.
    13       115.    Whereas payment by defendants and each of them was either
    14   sporadic, inadequate, or nothing, and at some point in time Defendants
    15   ceased reimbursing out-of-network providers, including Plaintiff, for any
    16   treatment rendered.
    17       116.    Defendants and each of them were at all times obligated under
    18   California law to provide or arrange for the provision of access for their
    19   insureds to health care services in a timely manner, and sought to satisfy this
    20   duty by providing a network of in-network providers for their insureds to
    21   choose from so they may receive the necessary treatment at the lowest
    22   expense to the insurer and the insured.
    23       117.    Defendants are also liable to pay Plaintiff for treating The
    24   Patients and claims at issue due to a contract implied in law based on the
    25   network gap concept as discussed hereinabove. California law requires that
    26   where health insurance carriers such as Defendants cannot provide their
    27   insureds access to the needed healthcare providers on an “in-network” basis,
    28   the carriers shall pay any “out-of-network” provider such as Plaintiff the
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 33
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 34 of 38 Page ID #:34




     1   amounts necessary to limit the out-of-pocket cost to the patient as if an in-
     2   networker provider had provided the same treatment and services. In effect,
     3   this makes an out-of-network provider eligible to receive up to 100 percent
     4   of its fully-billed charges (since the patients would be responsible for only
     5   their relatively nominal co-payments), or in any case substantially more than
     6   the contracted rates agreed to by an in-network provider.
     7       118.    Plaintiff is informed, and based therein alleges, that, there was a
     8   network gap with respect to the Patients’ payments for whom they are at
     9   issue in this action, since Defendants failed to arrange for any in-network
    10   providers in the patients’ localities who were willing and able to provide the
    11   mental health and SUD treatment required by those patients. Indeed, if
    12   defendants objected to their insureds obtaining treatment from an ONP such
    13   as Plaintiff, why did they refuse or otherwise fail to refer those patients to an
    14   INP? The only reasonable inference is that there were no such in-network
    15   providers who were in the position to treat the patients at issue. As a result,
    16   those patients had no choice but to seek the services and treatments rendered
    17   by Plaintiff, who did so in good faith and in reliance on Defendants’
    18   expected compliance with the applicable California healthcare as it pertains
    19   to a “network gap.”
    20       119.    Defendants and each of them, by words and conduct, requested
    21   that Plaintiff provide medically necessary treatment to their insureds, which
    22   benefitted Defendants in terms of meeting their legal and contractual
    23   obligations to provide or arrange for the provision of access to health care
    24   services in a timely manner.
    25       120.    As part of verifying benefits and authorizing treatment when
    26   necessary, and in multiple communications following admissions and the
    27   submission of claims, Defendants, and each of them, knew that Plaintiff was
    28   providing services to Defendants’ insureds and promised to pay Plaintiff for
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 34
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 35 of 38 Page ID #:35




     1   the treatment and thereafter enjoyed the benefit of Plaintiff providing the
     2   services Defendants were obligated to ensure for their insureds.
     3       121.    The persons answering calls and corresponding on behalf of
     4   Defendants, and each of them, were upon information and belief the agents
     5   and employees of Defendants, and each of them, and in doing the things
     6   herein alleged were acting within the course and scope of such agency and
     7   employment and with the permission and consent of Defendants, and each of
     8   them.
     9       122.    Plaintiff is entitled to be paid its usual and customary fees for the
    10   services provided, without regard to the payment provisions in Defendants’
    11   policies and/or the payments owing to Plaintiff under California law based
    12   on the existence of a “network gap” as to some or all of the Patients at issue.
    13       123.    The fair and reasonable value of the non-reimbursed services
    14   that Plaintiff provided to Defendants’ insureds is at least $8,535,461.84.
    15       124.    Defendants and each of them, however, have failed and refused,
    16   and continue to refuse, to reimburse Plaintiff for the reasonable and
    17   customary value of Plaintiff’s services as required by law.
    18       125.    As a direct and proximate result of Defendants’ failure to pay for
    19   services rendered, Plaintiff has suffered general and incidental damages
    20   according to proof, and is entitled to statutory and prejudgment interest.
    21       126.    As a direct and proximate result of Defendants’ failure to pay for
    22   services rendered, Plaintiff has incurred and continues to incur economic
    23   loss, including the benefits owed in the amount of at least $8,535,461.84, the
    24   interruption in Plaintiff’s business, lost business opportunities, lost profits
    25   and other consequences, all according to proof.
    26       127.    As a direct and proximate result of Defendants’ failure to pay for
    27   services rendered, Plaintiff has sustained damages, and statutory and
    28
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 35
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 36 of 38 Page ID #:36




     1   prejudgment interest, in excess of the jurisdictional minimum of this court in
     2   an amount to be determined at trial.
     3                               SIXTH CLAIM FOR RELIEF
     4
                            (Unfair Competition Against All Defendants)
     5
             128.     Plaintiff realleges and incorporates by reference each and every
     6
         paragraph of this Complaint as though set forth herein.
     7
             129.     Health Net has engaged in unfair and/or unlawful business
     8
         practices by, inter alia:
     9
                      a. Failing to comply with applicable Federal and California law,
    10
                         including 42 U.S.C. § 18022(b)(1)(E), 42 U.S.C. § 300gg-26
    11
                         29 C.F.R. § 2590.712 and California Health & Safety Code
    12
                         §§ 1367.005, 1367.015 by knowingly, among other things,
    13
                         engaging in an “unfair payment pattern” (e.g., delaying
    14
                         payment of claims, reducing the amount of payment and/or
    15
                         denying payment of claims, failing on a repeated basis to pay
    16
                         uncontested portions of claims in a timely manner; and
    17
                      b. Failing to comply with 42 U.S.C. § 300gg-9, California
    18
                         Insurance Code § 10117.52, which require disclosure to
    19
                         patients of pertinent facts or insurance policy provisions
    20
                         relating to any coverage issues.
    21
          130.        This conduct by Health Net constitutes illegal and unfair business
    22
    23   practices under California Business and Professions Code § 17200, et seq.
    24    131.        Plaintiff seeks restitution in an amount according to proof at trial, plus
    25
         applicable statutory interest. Plaintiff also seeks an injunction prohibiting Health
    26
    27   Net from continuing with these practices as set forth in this fifth claim for relief.

    28
                     COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                             PAGE 36
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 37 of 38 Page ID #:37




     1                            PRAYER FOR RELIEF
     2 AS TO THE FIRST CLAIM FOR RELIEF:
     3       WHEREFORE, Plaintiff prays as follows:
     4       1. For an order that Defendant pay to Plaintiff an amount to be
     5            determined at trial for the Claims under the ERISA Plan;
     6       2. For economic damages according to proof;
     7       3. For attorney’s fees and costs of suit incurred herein pursuant to
     8            ERISA § 502(g), 29 U.S.C. § 1132(g);
     9       4. For pre- and post-judgment interest as allowed by law;
    10       5. For such other and further relief as the Court deems appropriate.
    11
    12 AS TO THE SECOND, THIRD, FOURTH AND FIFTH CLAIMS FOR
    13 RELIEF:
    14       WHEREFORE, Plaintiff prays as follows:
    15       1.     For an order that Defendants pay to Plaintiff an amount to be proven at
    16
             trial;

    17
             2.      For economic damages according to proof;

    18
             3.      For pre- and post-judgment interest as allowed by law;

    19
             4.      For attorney’s fees and costs of suit incurred herein; and

    20
             5.      For such other and further relief as the Court deems appropriate.

    21
    22
         AS TO THE SIXTH CLAIM FOR RELIEF:

    23
             WHEREFORE, Plaintiff prays as follows:
             1.     For an order that Defendants pay to Plaintiff an amount to be proven at
    24
             trial;
    25
             2.      For pre- and post-judgment interest as allowed by law;
    26
             3.      For attorney’s fees and costs of suit incurred herein;
    27
    28
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 37
Case 8:19-cv-00243-DOC-DFM Document 1 Filed 02/06/19 Page 38 of 38 Page ID #:38




     1        4.     For injunctive relief;
     2        5.     For such other and further relief as the Court deems appropriate.
     3
     4                                          Respectfully Submitted,
     5 Dated: February 5, 2019                  GARNER HEALTH LAW CORPORATION
     6
     7
     8                                                                  e
                                                By: _________________________________
     9
                                                      CRAIG B. GARNER
    10                                          Attorneys for PLAINTIFF ABC SERVICES
                                                GROUP, INC., in its capacity as assignee for
    11
                                                the benefit of creditors of MORNINGSIDE
    12                                          RECOVERY, LLC
    13
    14                           DEMAND FOR JURY TRIAL
    15
    16        Pursuant to the Seventh Amendment to the United States Constitution, and

    17 any other applicable law, Plaintiff hereby requests a trial by jury for all claims
    18 triable by jury.
    19
    20                                          Respectfully Submitted,

    21 Dated: February 5, 2019                  GARNER HEALTH LAW CORPORATION

    22
    23
    24                                                                      e
                                                By: _________________________________
                                                      CRAIG B. GARNER
    25                                          Attorneys for PLAINTIFF ABC SERVICES
    26                                          GROUP, INC., in its capacity as assignee for
                                                the benefit of creditors of MORNINGSIDE
    27                                          RECOVERY, LLC
    28
                    COMPLAINT FOR BENEFITS UNDER ERISA AND RELATED CLAIMS
                                            PAGE 38
